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UNITED STATES DISTRICT COURT
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SOUTHERN DISTRICT OF NEW YORK
-----------------------------------X
UNITED STATES OF AMERICA,          :
                                   :
                                   :          19 CR 316 (VM)
     - against -                   :
                                   :
BRIAN JOHNSON,                     :
                                   :          DECISION AND ORDER
               Defendant.          :
-----------------------------------X


VICTOR MARRERO, United States District Judge.

     Defendant Brian Johnson (“Johnson”) pleaded guilty to

one count of being a felon in possession of a firearm in

violation of 18 U.S.C. Section 922(g)(1). The Court sentenced

Johnson to five years of probation with two conditions:

eighteen months of intermittent confinement in a community

reentry facility and three years of home confinement.

     Now before the Court is a motion by Johnson for early

termination of his probation pursuant to 18 U.S.C. Section

3582(e)(1). (See “Termination Motion,” Dkt. No. 29.) The

Government    and    Probation    oppose     termination     or     any

modification of the terms of Johnson’s supervised release.

(See “Opposition,” Dkt. No. 31.)

     The Motion is hereby DENIED.




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                            I.      BACKGROUND1

      On March 27, 2019, two NYPD officers witnessed Johnson

fail to stop at a stop sign while driving in Bronx, New York.

The officers attempted to pull over his vehicle, but Johnson

sped away rather than stopping. After a short pursuit, Johnson

crashed into parked cars and fled on foot. He was found hiding

beneath a parked car and was arrested. The arresting officers

discovered    a   shell    casing     in   Johnson’s   pocket    and   a

semiautomatic pistol in plain view inside the car Johnson had

been driving.

      Law enforcement’s subsequent investigation revealed two

important facts. First, Johnson was convicted of attempted

robbery in the first degree in New York state court in 2013.

Second, Johnson’s firearm matched the shell casing in his

pocket as well as shell casings found at the scene of a

shooting in Manhattan the previous night.

      Johnson pleaded guilty to one count of possession of a

firearm following a conviction for a crime punishable by more

than one year of imprisonment, in violation of 18 U.S.C. §

922(g)(1). On October 29, 2019, this Court sentenced Johnson

to five years of probation, the terms of which included two



1 These facts are drawn from the presentence investigation report and the

parties’ sentencing submissions. See Dkts. 18, 20, 21. Except where
directly quoted below, no citation will be made to any specific
submission.

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conditions: eighteen months of intermittent confinement in a

Bureau of Prisons community reentry center and three years of

home confinement.

      On July 16, 2021, twenty months into his sixty months of

probation, Johnson filed a motion requesting termination of

supervised release.2 (See Termination Motion.) In support of

his   motion,     Johnson      provided   letters     from    his     work

supervisor, his girlfriend, and two of his siblings (see

Exhibits A, D, E, and F to Termination Motion); an award from

his employer for going “above and beyond the call of duty”

(see Exhibit B to Termination Motion); and his acceptance

email to Borough of Manhattan Community College. (See Exhibit

C to Termination Motion.) The Termination Motion emphasizes

Johnson’s unblemished compliance with the terms of probation

and   his   academic     and    professional     achievements       during

supervision. The Termination Motion also discusses Johnson’s

family situation.




2 As a technical matter, Johnson is currently on probation, not supervised

release. See United States v. Jacques, 321 F.3d 255, 264 (2d Cir. 2003)
(“One inherent difference between supervised release and probation is
that in the former a defendant will have served time in prison for his
offense, while in the latter he will not have served time. Probation
therefore,    unlike   supervised   release,    is   an   alternative   to
imprisonment.”). However, the difference is without distinction, as the
Second Circuit has noted the two are “essentially similar” and
modifications or revocation of either is governed by Section 3583(e).
United States v. Meeks, 25 F.3d 1117, 1121 (2d Cir. 1994).


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       The Government and Probation opposed the motion but note

that Johnson has complied with all terms of his release thus

far, is gainfully employed, and has family support. (See

Opposition.)

       Due to the COVID-19 pandemic, Johnson has been unable to

begin the intermittent community reentry requirement of his

sentence. On November 3, 2021, at Johnson’s request, the Court

modified that special condition. Instead of intermittent

community reentry, the sentence will consist of six-months’

location monitoring and curfew, to be completed following

Johnson’s     home    confinement.       Neither      the   Government   nor

Probation objected to that modification, but both reiterated

their opposition to full termination of Johnson’s probation

following this modification. (See Dkt. 33.)

                           II.     LEGAL STANDARD

       Pursuant to 18 U.S.C. Section 3583(e), a sentencing

court may, after considering the factors listed in 18 U.S.C.

Section    3553(a),    terminate     a    term   of    supervised   release

“after the expiration of one year” of supervision if the Court

is “satisfied that such action is warranted by the conduct of

the defendant . . . and the interest of justice.” 18 U.S.C.

§    3583(e)(1).     The   Court   may,    at    any    time,   modify   the

conditions of supervised release pursuant to the provisions

of the Federal Rules of Criminal Procedure. See 18 U.S.C. §

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3583(e)(2). To put it simply, Section 3583(e)(2) “requires

the court to consider general punishment issues such as

deterrence, public safety, rehabilitation, proportionality,

and consistency, when it decides to ‘modify, reduce, or

enlarge’    the    term    or    conditions       of    supervised      release.”

United States v. Lussier, 104 F.3d 32, 35 (2d Cir. 1997)

(quoting 18 U.S.C. § 3583(e)).

     The    Second       Circuit       has    held     that    “[o]ccasionally,

changed    circumstances         --     for    instance,       especially     good

behavior by the defendant . . . -- will render a previously

imposed term or condition of release either too harsh or

inappropriately tailored to serve the general punishment

goals of section 3553(a).” Id. at 36. While rehabilitation is

a major goal of probation, see United States v. Johnson, 347

F.3d 412, 416—17 (2d Cir. 2003), compliance with the terms of

probation is, standing alone, insufficient to justify early

termination. See United States v. Harris, 689 F. Supp. 2d

692, 694 (S.D.N.Y. 2010). Ultimately, the decision whether to

terminate or modify the conditions of release is a matter

left to the discretion of the district court. See id.

                                III.         DISCUSSION

     At the time of this decision, Johnson has completed

approximately two years of his overall five-year term of

probation    and    of    the    condition       of    three    years    of   home

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confinement. Johnson’s offense was serious and his conduct

put law enforcement and the public at great risk of injury.

The Sentencing Guidelines Range for his offense was 24- to

30-months’ imprisonment, but this Court imposed a sentence

significantly below that range, finding that the factors set

forth in Section 3553(a) could be met with a sentence of five

years’ probation with conditions of three years of home

confinement and eighteen months of intermittent confinement

in a community reentry program.

       The Court takes note of Johnson’s laudable efforts to

rehabilitate in the two years since his sentencing, but “full

compliance    with   terms   of    supervised    release    is    what   is

expected of” an offender. United States v. Erskine, No. 05

Crim. 1234, 2021 WL 861270, at *2 (S.D.N.Y. Mar. 8, 2021).

Moreover, Johnson had previously completed a three-year term

of probation only to commit the offense in the instant case

three months after his supervision ended. (See Dkt. 21 at 4.)

Considering    the   need    for    a   sentence    to     “reflect      the

seriousness of the offense, to promote respect for the law,

and to provide just punishment for the offense,” 18 U.S.C. §

3553(a)(2)(A), the Court finds that termination of Johnson’s

full   term   of   probation   after    a   mere   two   years     is    not

warranted.    Accordingly,        Johnson’s     motion   to      terminate

supervised release is denied.

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       Regarding Johnson’s request to remove the condition of

home     confinement,   the     Court’s     recent    modification       of

Johnson’s      probationary     terms     already    provided     a    very

substantial alteration to his sentence -- one that mitigates

some of the concerns raised in the Termination Motion, as the

requirement that Johnson leave his family for the eighteen

months    of   community      reentry   confinement     is   no       longer

applicable.     Further,   Johnson’s      family    circumstances,      his

employment, and his educational pursuits were major subjects

of his sentencing submissions. (See Dkt. No. 33.) Thus, these

are not “new or unforeseen circumstances” uncontemplated at

sentencing. Lussier, 104 F.3d at 36. And while the Termination

Motion    highlights    many     challenges    that    accompany       home

confinement, “mere inconvenience does not rise to the level

of new or unforeseen circumstances that would warrant early

termination.” United States v. Gonzalez, No. 94 Crim. 0134,

2015 WL 4940607, at *1 (S.D.N.Y. $XJ2015).

       At this time, Johnson has not established that further

modification of his probation is warranted. His motion to

remove the condition of home confinement is denied.

                               IV. ORDER

       For the reasons stated above, it is hereby




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     ORDERED that the motion filed by defendant Brian Johnson

(see Dkt. No. 29) for early termination or modification of

his probation is DENIED.


SO ORDERED.


Dated: New York, New York
        November 2021               __
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